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Munley LaW, PC

The Forum Plaza - 227 Penn Avenue
Scranton, PA 18503

570-346-7401

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL KARP, and LINDA KARP

Plaintiffs
V. : CIVIL ACTION - LAW
. IURY TRIAL DEMANDED
DANA JENKINS and CIS EXPRESS, LLC :
Defendants ' No.

NOW come Plaintiffs, Michael Karp and Linda Karp, by and through their

undersigned counsel, Munley LaW, P.C., and aver as folloWs:
THE PARTIES

l. Plaintiffs_, Michael Karp and Linda Karp, are competent adult
individuals and citizens of Pennsylvania, Who reside at 1339 State Route 2016,
Nicholson, Pennsylvania 18446.

2. Defendant, Dana Jenl<ins, upon information and belief is a competent
adult individual and citizen of the State of California_, Who resides at 3410 La
Sierra Avenue, Apt 721_, Riverside, California 925 03.

3_ Defendant CIS EXpress, LLC, upon information and belief, is a

limited liability corporation and/or other business entity organized and existing

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under the laws of the State of California with its principal place of business located

at 909 Cottonwood Way_, Walnut, California_, 91789.

 

JURISDICTION AND VENUE
4. The amount in controversy in this matter exceeds the sum or value of
$75_,000.
5. This Court has jurisdiction over this matter pursuant to 28 U.S.C.

§l332(a)(l) because the matter in controversy exceeds the sum or value of $75,0()()
and is between citizens of different states.

6. Venue is proper pursuant to 28 U.S.C. § l39l(b)_, as a substantial part
of the events or omissions giving rise to the claim occurred in this district

FACTUAL ALLEGATIONS

7. At all times pertinent hereto, upon information and belief, Defendant
Dana Jenl<ins was the agent, servant, workman, contractor and/or employee of
Defendant CIS Express, LLC and was acting within the course and scope of his
agency and/or employment

8. At all times pertinent hereto, Defendant CIS Express_, LLC was the
owner of a 2005 Kenworth tractor-trailer, California license plate number

WP87670 operated by Defendant Dana Jenl<ins.

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9. At all times pertinent hereto, Plaintiff Michael Karp was the owner
and operator of a 2008 Ford Super Duty_, Pennsylvania License Plate Number
ZJ 1328 56 in which PlaintiffLinda Karp was a passenger.

10. On or about May 2, 2017, Plaintiffs Michael Karp and Linda Karp
was operating the aforementioned Ford Super Duty lawfully traveling westbound
in the right lane of travel on Interstate 80_, in Marion Township_, Centre County,
Pennsylvania.

ll. At the same time and place, Defendant Dana Jenl<ins_, was operating
the aforementioned tractor-trailer traveling westbound in the left lane of travel on
Interstate 80 in Marion Township, Centre County, Pennsylvania.

l2. Defendant Dana Jenl<ins came up behind the Plaintiffs’ vehicle and
drove incredibly close to the Plaintiffs’ vehicle.

13. Defendant Dana Jenl<ins then began to beep his horn while traveling
in the left lane of travel

l4. Plaintiff Michael Karp then moved to the right lane of travel to permit
Defendant Dana Jenl<ins to pass him in the left lane of travel.

15. When Defendant Dana Jenl<ins was about halfway past Plaintiffs’
vehicle in the left lane of travel, Defendant Dana Jenl<ins suddenly and without

warning moved from the left lane of travel to the right lane of travel

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16. Defendant Dana Jenkins operated his vehicle in such a negligent_,
careless_, and reckless manner that he moved from the left lane of travel into the
right lane of travel and suddenly, violently and without warning struck the
Plaintiffs’ vehicle with the semi-trailer of his vehicle.

17. As a result of the aboveinentioned collision, Defendant Dana Jenkins
was charged with two (2) counts of simple assault in violation of 18 Pa.C.S.
§2701(a)(3), disorderly conduct in violation of 18 Pa.C.S. §5503(a)(4), 18 Pa_C_S.
§2701(a)(3), two (2) counts of recklessly endangering another person in violation
of 18 Pa.C.S. §2705, accident involving damage to attended vehicle in violation of
75 Pa_ C.S.A. §3743, two (2) counts ofharassment in violation of 18 Pa.C.S.A.
§2709, disregarding traffic lanes in violation of 75 Pa. C_S.A. §3309(a)(1),
following too closely in violation of 75 Pa. C.S.A. §3310_, careless driving in
violation of75 Pa. C.S.A. §3714_, reckless driving in violation of 75 Pa. C.S.A.
§3736, and failure to stop and render information in violation of 75 Pa_ C.S_A.
§3744.

18. Defendant Dana Jenkins pled guilty to two (2) counts of simple
assault in violation of 18 Pa.C.S. §2701(a)(3) and two (2) counts of recklessly
endangering another person in violation of 18 Pa.C.S. §2705 .

19. As a result of the aforesaid collision, Plaintiff Michael Karp has

suffered, yet suffers and will suffer from for an indefinite time in the future injuries

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including but not limited to: neck pain, anxiety, headaches, myospasm_, low back
pain_, and shock to his nerves and nervous system_, all of which caused him_,
continue to cause him and will cause him for an indefinite time in the future great
pain, agony and suffering, both physical and mental

20. As a result of the aforesaid collision and injuries sustained, Plaintiff
Michael Karp has been forced to undergo medical treatment_, including but not
limited to xrays, physical therapy, chiropractic therapy, inj ections, and will/may be
forced to undergo medical treatment at an undetermined time in the future.

21. As a result of the aforesaid collision and injuries sustained, Plaintiff
Michael Karp has expended, yet expends and will/may expend for an indefinite
time in the future various and substantial sums of money for the medicine and
medical attention in and about endeavoring to treat and cure Plaintiff of her injuries
all to her great financial loss and damage.

22. As a result of the aforesaid collision and injuries sustained, Plaintiff
Michael Karp has been, yet is and will/may for an indefinite time in the future, be
unable to go about his usual and daily occupations and routines.

23. As a result of the aforesaid collision and injuries sustained, Plaintiff
Michael Karp has been, yet is and will/may for an indefinite time in the future be

forced to forego the pleasures of life.

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24. As a result of the collision and injuries sustained, Plaintiff Michael
Karp has suffered_, yet suffers and will/may continue to suffer wage diminution or
lessening of his earning power and earning capacity, and will/may continue to
suffer same forever in the future

25. As a result of the aforesaid collision, Plaintiff Linda Karp has
suffered, yet suffers and will suffer from for an indefinite time in the future injuries
including but not limited to: neck pain, left shoulder pain, arm numbness and
tingling_, insomnia_, muscle spasms_, and shock to her nerves and nervous system_, all
of which caused her, continue to cause her and will cause her for an indefinite time
in the future great pain, a gony and suffering, both physical and mental

26. As a result of the aforesaid collision and injuries sustained, Plaintiff
Linda Karp has been forced to undergo medical treatment, including but not
limited to physical therapy_, xrays massage therapy_, acupuncture_, injections, and
will/may be forced to undergo medical treatment at an undetermined time in the
future

27. As a result of the aforesaid collision and injuries sustained, Plaintiff
Linda Karp has expended_, yet expends and will/may expend for an indefinite time
in the future various and substantial sums of money for the medicine and medical
attention in and about endeavoring to treat and cure Plaintiff of her injuries all to

her great financial loss and damage

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28. As a result of the aforesaid collision and injuries sustained, Plaintiff
Linda Karp has been_, yet is and will/may for an indefinite time in the future, be
unable to go about her usual and daily occupations and routines_

29. As a result of the aforesaid collision and injuries sustained, Plaintiff
Linda Karp has been_, yet is and will/may for an indefinite time in the future be
forced to forego the pleasures of life.

30. As a result of the collision and injuries sustained, Plaintiff Linda Karp
has suffered_, yet suffers and will/may continue to suffer wage diminution or
lessening of her earning power and earning capacity_, and will/may continue to
suffer same forever in the future

COUNT ONE
Michael Karp v. Dana Jenkins
Negligence

31. Paragraphs 1-30 above are incorporated herein by reference as if fully
set forth here at length

32. The aforesaid collision was due solely to the negligent conduct, careless
conduct and gross_, wanton and reckless conduct of Defendant Dana Jenkins and in
no way due to any negligent act or failure to act on the part of the Plaintiffs.

33. The negligent conduct, careless conduct and gross, wanton and reckless

of Defendant Dana Jenkins consisted of the following:

a. Failure to keep a proper lookout;

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H].

Failure to properly observe the roadway;

Failure to brake his vehicle;

Failure to properly control his vehicle;

Failure to take proper and evasive action;

Failure to keep his eyes on the roadway;

Failure to operate his vehicle in the proper lane of travel;

Failure to maneuver his vehicle so as to avoid a collision;

Following too closely behind Plaintiff’s vehicle in violation of 75 Pa.
C.S.A. §3310(a);

Failure to give information and render aid in violation of 75 Pa.C.S.A.
§3744;

Failure to drive within a single lane in violation of75 Pa.C.S.A.
§3399(3)(1);

Failure to exercise a degree of care which an ordinary and prudent
person would have done under the circumstances;

Failure to remain attentive and to maintain a sharp lookout for the
conditions of travel;

sending, reading, and/or writing a text-based communication while
operating a motor vehicle;

Operating his commercial motor vehicle without due regard for the

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rights_, safety_, and position of Plaintiff lawfully on the roadway;

p. Operating his vehicle at a speed greater than that which was
reasonable and prudent under the circumstances in violation of 75 Pa.
C.S.A. §3361;

q. Driving recklessly and with willful and wanton disregard for the
safety of persons or property in violation of 75 Pa. C.S.A. §3736;

r. Operating his vehicle so recklessly that he placed Plaintiff in danger
of death and serious bodily injury in violation of 18 Pa. C.S.A. §2705;

s. Operating his vehicle in a careless manner in violation of 75 Pa.
C.S.A. §3714;

t. Failure to obey the rules of the road, the statutes of the
Commonwealth of Pennsylvania; and the ordinances of Marion
Township, Pennsylvania while operating his vehicle on the highways
and roadways of the Commonwealth ofPennsylvania;

u. Failure to inspect the vehicle prior to operating the vehicle;

v. Failure to give warning of his approach;

w. Operating his vehicle while being distracted and/or fatigued in
violation of49 C.F.R. §392.3;

x. Falling asleep while driving;

y. Operating his vehicle in violation of the rules and regulations of the

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Federal Motor Carrier Safety Regulations;

z. Failure to operate_, maintain, inspect and repair his vehicle in
accordance with the applicable Federal Motor Carrier Safety
Regulations 49 C.F.R. §390 et seq., which have been adopted in this
Commonwealth pursuant to 67 Pa. Code §229.14;

aa. Failure to properly inspect his vehicle in accordance with 49 C.F.R.
§392.7;

bb.Operating his vehicle in excess of the applicable hours of service rules
in violation of 49 C.F.R. §395.3;

cc. Operating his vehicle when he was so fatigued as to make it unsafe for
him to operate the vehicle in violation of 49 CFR §392.3;

dd.Failing to properly inspect his vehicle prior to driving to ensure it was
in safe operating condition in violation of 49 C.F.R. §396.13;

ee Operating his vehicle when he knew or should have known that he
was unfit to do so;

ff. Failure to record his duty status properly in violation of49 CFR
§395.8; and

gg. Such other negligence, recklessness, and/or willful and wanton
conduct as shall be revealed in discovery under the Pennsylvania

Rules of Civil Procedure.

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34. As a result of the above-stated acts and omissions, Plaintiff Michael
Karp has suffered such harm as has been previously stated herein.

WHEREFORE, Plaintiff Michael Karp demands judgment against
Defendant Dana Jenkins in an amount in excess of $75,000.00 plus interest, costs
and such other reliefas this Court deems appropriate

COUNT TWO
Michael Karp v. Dana Jenkins
Punitive Damages

35. Paragraphs 1-34 above are incorporated by reference as if fully set
forth herein at length.

36. The conduct of Defendant Dana Jenkins was outrageous and/or done
willfully, wantonly and/or with reckless indifference to the rights of the public
including Plaintiff Michael Karp. Defendant Dana Jenkins knew or should have
known that operating his vehicle when he was too fatigued to do so safely and/or
while being distracted, would result in serious injury to others driving on the
roadway Defendant Dana Jenkins knew or should have known that falling asleep
while driving_, would result in serious injury to others. Furthermore, Defendant
Dana Jenkins knew or should have known that failing to pay attention to the

roadway and/or operating his vehicle too fast for the conditions then present,

and/or when he was in violation of the applicable hours of service regulations

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and/or while he was in violation of the federal motor carrier safety regulations,
would result in serious injury to others driving on the roadway.

37. Despite such knowledge Defendant Dana Jenkins nevertheless failed
to keep a proper lookout; failed to properly observe the roadway; failed to brake
his vehicle; failed to properly control his vehicle; failed to take proper and evasive
action; failed to keep his eyes on the roadway; failed to maneuver his vehicle so as
to avoid a collision; followed too closely behind Plaintiff Michael Karp’s vehicle
in violation of 75 Pa. C.S.A. §3310(a); failed to give information and render aid in
violation of75 Pa.C.S.A. §3744; failed to drive within a single lane in violation of
75 Pa.C.S.A. §3309(a)(1); failed to exercise a degree of care which an ordinary and
prudent person would have done under the circumstances; failed to remain
attentive and to maintain a sharp lookout for the conditions of travel; operated his
commercial motor vehicle without due regard for the rights, safety, and position of
Plaintiff Michael Karp lawfully on the roadway; operated his vehicle at a speed
greater than that which was reasonable and prudent under the circumstances in
violation of75 Pa. C.S.A. §3361; sending_, reading_, and/or writing a text-based
communication while operating a motor vehicle; drove recklessly and with willful
and wanton disregard for the safety ofpersons or property in violation of 75 Pa_
C_S.A. §3736; operated his vehicle so recklessly that he placed Plaintiff Michael

Karp in danger of death and serious bodily injury in violation of 18 Pa. C.S.A.

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§2705; operated his vehicle in a careless manner in violation of 75 Pa. C.S.A.
§3714; failed to obey the rules of the road, the statutes of the Commonwealth of
Pennsylvania; and the ordinances of Marion Township, Pennsylvania while
operating his vehicle on the highways and roadways of the Commonwealth of
Pennsylvania; failed to inspect the vehicle prior to operating the vehicle; failed to
give warning of his approach; failed to bring his vehicle to a stop within the
assured clear distance ahead in violation of 75 Pa.C.S.A. §3361; failed to slow
down in light of the conditions then and there existing in violation of 75 Pa.C.S.A.
§336 1; operated his vehicle while being distracted and/or fatigued in violation of
49 C.F.R. §392.3; fell asleep while driving; operated his vehicle in violation of the
rules and regulations of the Federal Motor Carrier Safety Regulations; failed to
operate_, maintain, inspect and repair his vehicle in accordance with the applicable
Federal Motor Carrier Safety Regulations 49 C.F.R. §390 et seq._, which have been
adopted in this Commonwealth pursuant to 67 Pa_ Code §229.14; failed to properly
inspect his vehicle in accordance with 49 C.F.R. §392.7; operated his vehicle in
excess of the applicable hours of service rules in violation of49 C.F.R. §395.3;
operated his vehicle when he was so fatigued as to make it unsafe for him to
operate the vehicle in violation of 49 CFR §392.3; failed to properly inspect his
vehicle prior to driving to ensure it was in safe operating condition in violation of

49 C.F.R. §396.13; operated his vehicle when he knew or should have known that

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he was unfit to do so; and failed to record his duty status properly in violation of 49
CFR §395.8.

38. Furthermore, as a result of the collision, Defendant Dana Jenkins was
charged with was charged with two (2) counts of simple assault in violation of 18
Pa.C.S. §2701(a)(3)_, disorderly conduct in violation of 18 Pa.C.S. §5503(a)(4)_, 18
Pa.C.S. §2701(a)(3)_, two (2) counts of recklessly endangering another person in
violation of 18 Pa_C_S. §2705, accident involving damage to attended vehicle in
violation of75 Pa. C.S.A. §3743_, two (2) counts ofharassment in violation of 18
Pa.C.S.A. §2709_, disregarding traffic lanes in violation of 75 Pa. C.S.A.
§3309(a)(1), following too closely in violation of 75 Pa. C_S.A. §3310, careless
driving in violation of 75 Pa_ C.S_A. §3714, reckless driving in violation of 75 Pa_
C.S.A. §3736, and failure to stop and render information in violation of75 Pa.
C.S.A. §3744.

39. As a result of the aforementioned collision, Defendant Dana Jenkins
pled guilty to two (2) counts of simple assault in violation of 18 Pa.C.S.
§2701(a)(3) and two (2) counts of recklessly endangering another person in
violation of 18 Pa.C.S. §2705.

40. All of these acts did constitute a reckless indifference to the risk of
injury to Plaintiff Michael Karp. As a result Plaintiff Michael Karp is seeking an

award of punitive damages against Defendant Dana Jenkins.

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WHEREFORE_, Plaintiff Michael Karp demands judgment against
Defendant Dana Jenkins in an amount in excess of $75,000.00 plus interest, costs
and such other reliefas this Court deems appropriate

COUNT THREE
Michael Karp v. Dana Jenkins
Negligent Infliction of Emotional Distress

41. Paragraphs 1-40 above are incorporated by reference as if fully set
forth herein at length

42. At the time of the aforementioned collision_, PlaintiffMichael Karp
was an owner and operator of the 2008 Ford Super Duty in which his wife,
Plaintiff Linda Karp, was an occupant

43. Plaintiff Michael Karp witnessed the harm sustained by his wife,
Plaintiff Linda Karp_, as fully set forth in this Complaint, as well as the
aforementioned negligence of Defendant Dana Jenkins.

44. As a result of the aforementioned collision and negligence of
Defendant Dana Jenkins, and observing his wife’s injuries, Plaintiff Michael Karp
has been caused to suffer severe fear, anxiety and emotional distress that has

manifested itself psychologically_, emotionally, and physically and will continue for

an indefinite period of time in the future

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45. Plaintiff Michael Karp has sustained the aforementioned fear_, anxiety
and emotional distress as a direct and proximate result of the negligence and/or
carelessness of Defendant Dana Jenkins_

46. As a result of the aforementioned fear, anxiety and emotional distress,
the Plaintiff Michael Karp has sustained, is sustaining, and will/may continue to
sustain a loss of the pleasures and enjoyinents of life.

47. Based on PlaintiffMichael Karp’s relationship with his wife, Plaintiff
Linda Karp and his observations of Defendant Dana Jenkin’s aforementioned acts
of negligence and/or carelessness_, Defendant Dana Jenkins could have reasonably
foreseen that the Plaintiff would suffer great and severe fear, anxiety and emotional
distress upon observing the injury of his wife due to his acts of simple assault in
violation of 18 Pa.C.S. §2701(a)(3) and recklessly endangering another person in
violation of 18 Pa.C.S. §2705 upon the Plaintiffs_, as fully set forth in this
Complaint

WHEREFORE, Plaintiff Michael Karp demands judgment against
Defendant Dana Jenkins in an amount in excess of $75,000.00 plus interest, costs

and such other reliefas this Court deems appropriate

COUNT FOUR
Michael Karp v. CIS Express, LLC
Negligence

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48. Paragraphs 1-47 above are incorporated by reference as if fully set
forth herein at length.

49. The aforementioned collision was due to the negligent conduct,
careless conduct, and gross, wanton, and reckless conduct of Defendant CIS
Express_, LLC and/or its agents_, ostensible agents_, servants, workmen, and/or
employees and in no way due to the negligent act or failure to act on the part of
Plaintiff Michael Karp.

50. The negligent conduct, careless conduct_, and gross, wanton and
reckless conduct of Defendant CIS Express_, LLC, by and through the acts and or
omissions of its agents and/or employees, including but not limited to Defendant
Dana Jenkins, consisted of the following:

a. Failure to keep a proper lookout;

b. Failure to properly observe the roadway;

c. Failure to operate his vehicle in the proper lane of travel;
d_ Failure to brake his vehicle;

e. Failure to properly control his vehicle;

f. Failure to take proper and evasive action;

g. Failure to keep his eyes on the roadway;

h. Failure to maneuver his vehicle so as to avoid a collision;

i. Following too closely behind Plaintiff Michael Karp’s vehicle in

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violation of75 Pa. C.S.A. §3310(a);

j. Failure to give information and render aid in violation of 75 Pa.C.S.A.
§3744;

k. Failure to drive within a single lane in violation of75 Pa.C.S.A.
§3399(3)(1);

l. Failure to exercise a degree of care which an ordinary and prudent
person would have done under the circumstances;

m. Failure to remain attentive and to maintain a sharp lookout for the
conditions of travel;

n. sending, reading, and/or writing a text-based communication while
operating a motor vehicle;

o. Operating his commercial motor vehicle without due regard for the
rights_, safety_, and position of Plaintiff Michael Karp lawfully on the
roadway;

p. Operating his vehicle at a speed greater than that which was
reasonable and prudent under the circumstances in violation of 75 Pa.
C.S.A. §3361;

q. Driving recklessly and with willful and wanton disregard for the
safety of persons or property in violation of 75 Pa_ C.S.A. §3736;

r. Operating his vehicle so recklessly that he placed Plaintiff Michael

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Karp in danger of death and serious bodily injury in violation of 18
Pa. C.S.A. §2705;

s. Operating his vehicle in a careless manner in violation of 75 Pa_
C.S.A. §3714;

t. Failure to obey the rules of the road, the statutes of the
Commonwealth of Pennsylvania; and the ordinances of Marion
Township, Pennsylvania while operating his vehicle on the highways
and roadways of the Commonwealth ofPennsylvania;

u. Failure to inspect the vehicle prior to operating the vehicle;

v. Failure to give warning of his approach;

w_ Failure to slow down in light of the conditions then and there existing
in violation of 75 Pa.C.S.A. §3361;

x. Operating his vehicle while being distracted and/or fatigued in
violation of49 C.F.R. §392.3;

y. Falling asleep while driving;

z. Operating his vehicle in violation of the rules and regulations of the
Federal Motor Carrier Safety Regulations;

aa. Failure to operate, maintain, inspect and repair his vehicle in
accordance with the applicable Federal Motor Carrier Safety

Regulations 49 C.F.R. §390 et seq., which have been adopted in this

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Commonwealth pursuant to 67 Pa. Code §229.14;

bb.Failure to properly inspect his vehicle in accordance with 49 C.F.R.
§392.7;

cc. Operating his vehicle in excess of the applicable hours of service rules
in violation of49 C.F.R. §395.3;

dd.Operating his vehicle when he was so fatigued as to make it unsafe for
him to operate the vehicle in violation of 49 CFR §392.3;

ee. Operating his vehicle in such a condition as to likely cause an accident
or a breakdown of the vehicle in violation of 49 C.F.R. §396.7;

ff. Failing to properly inspect his vehicle prior to driving to ensure it was
in safe operating condition in violation of 49 C.F.R. §396.13;

gg.Operating his vehicle when he knew or should have known that he
was unfit to do so;

hh.Failure to record his duty status properly in violation of49 CFR
§395.8; and

ii. Such other negligence, recklessness_, and/or willful and wanton
conduct as shall be revealed in discovery under the Pennsylvania

Rules of Civil Procedure

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51. The negligent conduct_, careless conduct_, and gross, wanton and
reckless conduct of Defendant CIS Express, LLC, in its own right, consisted of the
following:

a. Negligently entrusting Dana Jenkins with its vehicle when it knew or
should have known that Dana Jenkins lacked sufficient skill,
judgment_, and prudence in the operation of the vehicle;

b. Failing to adequately instruct Dana Jenkins in the safe operation of the
vehicle prior to entrusting him with it;

c. Failing to prevent Dana Jenkins from operating the vehicle until he
had sufficient ability to operate the motor vehicle safely;

d_ Failing to adequately ascertain that Dana Jenkins lacked the ability
necessary to safely operate the vehicle under the circumstances;

e. Failure to provide Dana Jenkins with the equipment necessary to
safely operate the vehicle;

f. Failure to adequately train and oversee their employees, including
Defendant Dana Jenkins, in the inspection and operation of its tractor
trailer;

g. Failure to properly qualify Defendant Dana Jenkins as required by 49

CFR § 391 et seq.;

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h. Permitting Defendant Dana Jenkins to operate its vehicle when it
knew or should have known that he was too fatigued to do so safely in
violation of49 CFR § 392_3;

i. Permitting Defendant Dana Jenkins to operate its vehicle when it
knew or should have known that he was unfit to do so;

j. Permitting Defendant Dana Jenkins to operate its vehicle when it
knew or should have known he would drive while being distracted
and/or fatigued;

k. Permitting Defendant Dana Jenkins to operate its vehicle when it
knew or should have known that the requirements for Defendant Dana
Jenkins to earn income from operating its vehicle would cause
Defendant Dana Jenkins to violate the rules of the road and/or drive
while distracted and/or fatigued;

l Scheduling a run and/or requiring Defendant Dana Jenkins to operate
its vehicle between points in such periods of time as would necessitate
Defendant Dana Jenkins to operate the vehicle at too great a speed in
violation of49 C.F.R. §392.6;

m. Permitting Defendant Dana Jenkins to operate its vehicle when it

knew or should have known that he was operating the vehicle in

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excess of the applicable hours of service in violation of 49 CFR §
395 .3;

n. Failure to operate, maintain, inspect and repair its vehicle in accord
with the applicable Federal Motor Carrier Safety Regulations rules
and regulations_, and the statutes and regulations of the
Commonwealth of Pennsylvania;

o. Failure to require Defendant Dana Jenkins to observe and abide by the
Federal Motor Carrier Safety Regulations in violation of 49 C.F.R.
§390. 1 1;

p. Aiding, abetting, encouraging and/or requiring Defendant Dana
Jenkins to violate the Federal Motor Carrier Safety Regulations in
violation of49 C.F.R. §390.13;

q. Operating its vehicle in violation of the rules and regulations of the
Federal Motor Carrier Safety Regulations;

r. Failure to provide Dana Jenkins with proper training necessary to
drive the vehicle;

s. Failure to properly supervise Defendant Dana Jenkins in the operation
of its vehicle to ensure compliance with the Federal Motor Carrier

Safety Regulations; and

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t. Such other negligence, recklessness_, and/or willful and wanton
conduct as shall be revealed in discovery under the Pennsylvania
Rules of Civil Procedure

52. As a result of the above-stated acts and omissions, Plaintiff Michael
Karp has suffered such harm as has been previously stated herein.

WHEREFORE_, PlaintiffMichael Karp demands judgment against
Defendant CIS Express, LLC in an amount in excess of $75,000_00 plus interest,
costs and such other relief as this Court deems appropriate

COUNT FIVE
Michael Karp v. CIS Express, LLC
Punitive Damages

53. Paragraphs 1-52 above are incorporated by reference as if fully set
forth herein at length.

54. The conduct of Defendant CIS Express_, LLC_, by and through the acts
and or omissions of its agents, servants, workmen, and/or employees, including but
not limited to Defendant Dana Jenkins was outrageous and/or done willfully,
wantonly and/or with reckless indifference to the rights of the public including
Plaintiff Michael Karp. Defendants CIS Express, LLC and Dana Jenkins knew or
should have known that operating his vehicle when he was too fatigued to do so

safely and/or while being distracted, would result in serious injury to others driving

on the roadway. Defendants CIS Express, LLC and Dana Jenkins knew or should

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have known that falling asleep while driving_, would result in serious injury to
others. Furthermore, Defendants CIS Express_, LLC and Dana Jenkins knew or
should have known that failing to pay attention to the roadway and/or operating his
vehicle too fast for the conditions then present, and/or when he was in violation of
the applicable hours of service regulations and/or while he was in violation of the
federal motor carrier safety regulations_, would result in serious injury to others
driving on the roadway

55. Despite such knowledge, Defendant CIS Express_, LLC, by and
through the acts and/or omissions of its agents, servants_, workmen_, and/or
employees, including but not limited to Dana Jenkins nevertheless failed to keep a
proper lookout; failed to properly observe the roadway; failed to brake his vehicle;
failed to properly control his vehicle; failed to take proper and evasive action;
failed to keep his eyes on the roadway; sending_, reading_, and/or writing a text-
based communication while operating a motor vehicle; failed to maneuver his
vehicle so as to avoid a collision; followed too closely behind Plaintiff Michael
Karp’s vehicle in violation of 75 Pa. C.S.A. §3310(a); failed to give information
and render aid in violation of 75 Pa.C.S.A. §3744; failed to drive within a single
lane in violation of 75 Pa_C_S.A §3309(1); failed to exercise a degree of care which
an ordinary and prudent person would have done under the circumstances; failed to

remain attentive and to maintain a sharp lookout for the conditions of travel;

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operated his commercial motor vehicle without due regard for the rights_, safety_,
and position of Plaintiff Michael Karp lawfully on the roadway; operated his
vehicle at a speed greater than that which was reasonable and prudent under the
circumstances in violation of 75 Pa. C.S_A. §3361; drove recklessly and with
willful and wanton disregard for the safety of persons or property in violation of 75
Pa. C.S.A. §3736; operated his vehicle so recklessly that he placed Plaintiff
Michael Karp in danger of death and serious bodily injury in violation of 18 Pa.
C.S.A. §2705; operated his vehicle in a careless manner in violation of 75 Pa.
C.S.A. §3714; failed to obey the rules of the road_, the statutes of the
Commonwealth of Pennsylvania; and the ordinances of Marion Township,
Pennsylvania while operating his vehicle on the highways and roadways of the
Commonwealth of Pennsylvania; failed to inspect the vehicle prior to operating the
vehicle; failed to give warning of his approach; failed to slow down in light of the
conditions then and there existing in violation of 75 Pa.C.S.A. §3361; operated his
vehicle while being distracted and/or fatigued in violation of49 C.F.R. §392.3;
failed to exercise extreme caution in the operation of his vehicle when hazardous
conditions adversely affected his visibility and/or traction in violation of 49 C.F.R.
§392.14; failed to reduce his speed when hazardous conditions adversely affected
his visibility and/or traction in violation of 49 C.F.R. §392.14; failed to discontinue

the use of his commercial motor vehicle when hazardous conditions adversely

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affected his visibility and/or traction in violation of 49 C.F.R. §392.14; fell asleep
while driving; operated his vehicle in violation of the rules and regulations of the
Federal Motor Carrier Safety Regulations; failed to operate, maintain, inspect and
repair his vehicle in accordance with the applicable Federal Motor Cariier Safety
Regulations 49 C.F.R. §390 et seq._, which have been adopted in this
Commonwealth pursuant to 67 Pa. Code §229.14; failed to properly inspect his
vehicle in accordance with 49 C.F.R. §392.7; operated his vehicle in excess of the
applicable hours of service rules in violation of 49 C.F.R. §395.3; operated his
vehicle when he was so fatigued as to make it unsafe for him to operate the vehicle
in violation of 49 CFR §392.3; operated his vehicle in such a condition as to likely
cause an accident or a breakdown of the vehicle in violation of 49 C.F.R. §396.7;
failed to properly inspect his vehicle prior to driving to ensure it was in safe
operating condition in violation of 49 C.F.R. §396.13; operated his vehicle when
he knew or should have known that he was unfit to do so; and failed to record his
duty status properly in violation of49 CFR §395.8.

56. The conduct of Defendant CIS Express_, LLC was outrageous and/or
done willfully_, wantonly and/or with reckless indifference to the rights of the
public including Plaintiff Michael karp, in its own right Defendant CIS Express,
LLC knew of or should have known that Defendant Dana Jenkins lacked the ability

to safely operate a motor vehicle and did not have sufficient skill_, judgment_, and

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prudence in operating a motor vehicle Defendant CIS Express, LLC knew or
should have known that the manner in which Defendant CIS Express, LLC
conducted its business and compensated their agents, servants, workmen, and/or
employees, including but not limited to Defendant Dana Jenkins, would cause its
employees_, including Defendant Dana Jenkins_, to violate the rules of the road
and/or drive while distracted and/or fatigued. Defendant CIS Express, LLC knew
or should have known that allowing their employees to violate the rules of the road
and/or drive while distracted and/or fatigued would result in serious injury to the
traveling public_, including PlaintiffNichael Karp. Defendant CIS Express, LLC
knew or should have known that permitting Defendant Dana Jenkins to operate its
tractor-trailer when he was not qualified to do so, when he could not do so safely,
when he would be operating the truck when he was too fatigued to do so and while
he was in violation of the applicable hours of service regulations would result in
serious injury to others driving on the roadway Defendant CIS Express, LLC
knew or should have know that failing to hire and retain only competent drivers
would result in serious injury to others driving on the roadway. Defendant CIS
Express_, LLC knew or should have known that failing to properly train and
supervise its agents, servants, workmen, and/or employees, including but not
limited to Defendant Dana Jenkins would result in serious injury to others driving

on the roadway. Moreover_, Defendant CIS Express, LLC knew or should have

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known that failing to inspect_, maintain, repair and operate its vehicle in compliance
with all applicable standards and regulations, including but not limited to the
Federal Motor Carrier Safety regulations would result in serious injury to others
driving on the roadway

57. Despite such knowledge, Defendant CIS Express_, LLC nevertheless,
negligently entrusted Dana Jenkins with its vehicle when it knew or should have
known that Dana Jenkins lacked sufficient skill, judgment, and prudence in the
operation of the vehicle; failed to adequately instruct Dana Jenkins in the safe
operation of the vehicle prior to entrusting him with it; failed to prevent Dana
Jenkins from operating the vehicle until he had sufficient ability to operate the
motor vehicle safely; failed to adequately ascertain that Dana Jenkins lacked the
ability necessary to safely operate the vehicle under the circumstances; failed to
provide Dana Jenkins with the equipment necessary to safely operate the vehicle;
failed to maintain the brakes on the tractor-trailer; failed to adequately train and
oversee their employees, including Defendant Dana Jenkins, in the inspection and
operation of its tractor trailer; failed to properly qualify Defendant Dana Jenkins as
required by 49 CFR § 391 et seq.; permitted Defendant Dan Jenkins to operate its
vehicle when it knew or should have known that he was too fatigued to do so
safely in violation of49 CFR § 392.3; permitted Defendant Dana Jenkins to

operate its vehicle when it knew or should have known that he was unfit to do so;

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permitted Defendant Dana Jenkins to operate its vehicle when it knew or should
have known he would drive while being distracted and/or fatigued; permitted
Defendant Dana Jenkins to operate its vehicle when it knew or should have known
that the requirements for Defendant Jenkins to earn income from operating its
vehicle would cause Defendant Jenkins to violate the rules of the road and/or drive
while distracted and/or fatigued; scheduled a run and/or required Defendant Dan
Jenkins to operate its vehicle between points in such periods of time as would
necessitate Defendant Dan Jenkins to operate the vehicle at too great a speed in
violation of49 C.F.R. §392.6; permitted Defendant Dana Jenkins to operate its
vehicle when it knew or should have known that he was operating the vehicle in
excess of the applicable hours of service in violation of 49 CFR § 395.3; failed to
operate_, maintain, inspect and repair its vehicle in accord with the applicable
Federal Motor Carrier Safety Regulations rules and regulations_, and the statutes
and regulations of the Commonwealth of Pennsylvania; failed to require Defendant
Dana Jenkins to observe and abide by the Federal Motor Carrier Safety
Regulations in violation of 49 C.F.R. §390.11; aided, abetted, encouraged and/or
required Defendant Dana Jenkins to violate the Federal Motor Carrier Safety
Regulations in violation of 49 C.F.R. §390.13; operated its vehicle in violation of
the rules and regulations of the Federal Motor Carrier Safety Regulations; failed to

provide Dana Jenkins with proper training necessary to drive the vehicle; and

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failed to properly supervise Defendant Dana Jenkins in the operation of its vehicle
to ensure compliance with the Federal Motor Carrier Safety Regulations.

58. All of these acts did constitute a reckless indifference to the risk of
injury to Plaintiff Michael Karp. As a result, Plaintiff is seeking an award of
punitive damages against Defendant CIS Express_, LLC.

WHEREFORE_, Plaintiff Michael Karp demands judgment against
Defendant CIS Express, LLC in an amount in excess of 375,000.00 plus interest,
costs and such other relief as this Court deems appropriate

COUNT SIX
Linda Karp v. Dana Jenkins
Loss of Consortium

59. Paragraphs 1-5 8 above are incorporated herein by reference as if fully
set forth here at length.

60. At all times here pertinent, Plaintiff Linda Karp was and is the wife of
Plaintiff Michael Karp.

61. Solely because of the negligent conduct, careless conduct, and gross,
wanton and reckless conduct of Defendant Dana Jenkins in causing the injuries to
Plaintiff Michael Karp, Plaintiff Linda Karp as wife of Plaintiffl\/lichael Karp_, has
been, yet is and will forever in the future be obliged to expend various sums of

money for medicine and medical attention in and about endeavoring to treat and

cure her husband of his injuries.

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62. By reason of the aforesaid collision, PlaintiffLinda Karp has been_, yet
is and will/may be in the future deprived of the assistance and society of her
husband, all of which has been and will be to his great financial loss and detriment

WHEREFORE, Plaintiff Linda Karp demands judgment against Defendant
Dana Jenkins in an amount in excess of $75_,000.00 plus interest, costs and such

other relief as this Court deems appropriate

COUNT SEVEN
Linda Karp v. CIS Express, LLC
Loss of Consortium

63. Paragraphs 1-62 above are incorporated herein by reference as if fully
set forth here at length

64. At all times here pertinent, Plaintiff Linda Karp was and is the wife of
Plaintiff Michael Karp.

65. Solely because of the negligent conduct_, careless conduct, and gross_,
wanton and reckless conduct of Defendant Dana Jenkins in causing the injuries to
Plaintiff Michael Karp, Plaintiff Linda Karp as wife of PlaintiffMichael Karp, has
been, yet is and will forever in the future be obliged to expend various sums of

money for medicine and medical attention in and about endeavoring to treat and

cure her husband of his injuries

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66. By reason of the aforesaid collision, PlaintiffLinda Karp has been, yet
is and will/may be in the future deprived of the assistance and society of her
husband, all of which has been and will be to his great financial loss and detriment

WHEREFORE, Plaintiff Linda Karp demands judgment against Defendant
CIS Express, LLC in an amount in excess of $75_,000.00 plus interest, costs and

such other relief as this Court deems appropriate

COUNT EIGHT
Linda Karp v. Dana Jenkins
Negligence

67. Paragraphs 1-66 above are incorporated herein by reference as if fully
set forth here at length

68. The aforesaid collision was due solely to the negligent conduct,
careless conduct and gross, wanton and reckless conduct of Defendant Dana
Jenkins and in no way due to any negligent act or failure to act on the part of the
Plaintiffs

69. The negligent conduct, careless conduct and gross, wanton and

reckless of Defendant Dana Jenkins consisted of the following:

a. Failure to keep a proper lookout;
b. Failure to properly observe the roadway;
c. Failure to brake his vehicle;

d. Failure to properly control his vehicle;

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e. Failure to take proper and evasive action;

f. Failure to keep his eyes on the roadway;

g. Failure to maneuver his vehicle so as to avoid a collision;

h. Following too closely behind Plaintiff’s vehicle in violation of 75 Pa_

C.S.A. §3310(a);

i. Failure to give information and render aid in violation of 75 Pa.C.S.A.
§3744;

j. Failure to drive within a single lane in violation of75 Pa.C.S.A.
§399(1);

k. Failure to exercise a degree of care which an ordinary and prudent
person would have done under the circumstances;

l. Failure to remain attentive and to maintain a sharp lookout for the
conditions of travel;

m. Operating his commercial motor vehicle without due regard for the
rights, safety, and position of Plaintiff lawfully on the roadway;

n. Operating his vehicle at a speed greater than that which was
reasonable and prudent under the circumstances in violation of 75 Pa. C.S.A.
§3361;

o. Driving recklessly and with willful and wanton disregard for the

safety of persons or property in violation of 75 Pa. C.S.A. §3736;

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p. Operating his vehicle so recklessly that he placed Plaintiff in danger
of death and serious bodily injury in violation of 18 Pa. C.S.A. §2705;

q. Operating his vehicle in a careless manner in violation of 75 Pa_
C.S.A. §3714;

r. Failure to obey the rules of the road, the statutes of the
Commonwealth of Pennsylvania; and the ordinances of Marion Township,
Pennsylvania while operating his vehicle on the highways and roadways of

the Commonwealth of Pennsylvania;

s Failure to inspect the vehicle prior to operating the vehicle;
t Failure to give warning of his approach;
u. Failure to slow down in light of the conditions then and there existing

in violation of 75 Pa.C.S.A. §3361;

v. Operating his vehicle while being distracted and/or fatigued in
violation of49 C.F.R. §392.3;

w_ Failure to exercise extreme caution in the operation of his vehicle
when hazardous conditions adversely affected his visibility and/or traction in
violation of49 C.F.R. §392.14;

x. Failure to reduce his speed when hazardous conditions adversely

affected his visibility and/or traction in violation of 49 C.F.R. §392.14;

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y. Failure to discontinue the use of his commercial motor vehicle when
hazardous conditions adversely affected his visibility and/or traction in
violation of49 C.F.R. §392.14

z. Falling asleep while driving;

aa. Operating his vehicle in violation of the rules and regulations of the
Federal Motor Carrier Safety Regulations;

bb. Failure to operate, maintain, inspect and repair his vehicle in
accordance with the applicable Federal Motor Carrier Safety Regulations 49
C.F.R. §390 et seq., which have been adopted in this Commonwealth
pursuant to 67 Pa. Code §229.14;

cc. Failure to properly inspect his vehicle in accordance with 49 C.F.R.
§392.7;

dd. Operating his vehicle in excess of the applicable hours of service rules
in violation of 49 C.F.R. §395.3;

ee Operating his vehicle when he was so fatigued as to make it unsafe for
him to operate the vehicle in violation of 49 CFR §392.3;

ff. Operating his vehicle in such a condition as to likely cause an accident
or a breakdown of the vehicle in violation of 49 C.F.R. §396.7;

gg. Failing to properly inspect his vehicle prior to driving to ensure it was

in safe operating condition in violation of 49 C.F.R. §396.13;

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hh. Operating his vehicle when he knew or should have known that he

was unfit to do so;

ii. Failure to record his duty status properly in violation of49 CFR
§395.8;
j j. sending_, reading_, and/or writing a text-based communication while

operating a motor vehicle; and

kk. Such other negligence, recklessness and/or willful and wanton

conduct as shall be revealed in discovery under the Pennsylvania Rules of

Civil Procedure.

70. As a result of the above-stated acts and omissions Plaintiff Linda
Karp has suffered such harm as has been previously stated herein

WHEREFORE_, Plaintiff Linda Karp demands judgment against Defendant
Dana Jenkins in an amount in excess of $75_,000.00 plus interest, costs and such
other relief as this Court deems appropriate

COUNT NINE
Linda Karp v. Dana Jenkins
Punitive Damages

71. Paragraphs 1-70 above are incorporated by reference as if fully set

forth herein at length

72. The conduct of Defendant Dana Jenkins was outrageous and/or done

willfully, wantonly and/or with reckless indifference to the rights of the public

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including Plaintiff Linda Karp. Defendant Dana Jenkins knew or should have
known that operating his vehicle when he was too fatigued to do so safely and/or
while being distracted, would result in serious injury to others driving on the
roadway Defendant Dana Jenkins knew or should have known that falling asleep
while driving_, would result in serious injury to others Furthermore_, Defendant
Dana Jenkins knew or should have known that failing to pay attention to the
roadway and/or operating his vehicle too fast for the conditions then present,
and/or when he was in violation of the applicable hours of service regulations
and/or while he was in violation of the federal motor carrier safety regulations,
would result in serious injury to others driving on the roadway

73. Despite such knowledge Defendant Dana Jenkins nevertheless failed
to keep a proper lookout; failed to properly observe the roadway; failed to brake
his vehicle; failed to properly control his vehicle; failed to take proper and evasive
action; failed to keep his eyes on the roadway; failed to maneuver his vehicle so as
to avoid a collision; followed too closely behind Plaintiff Michael Karp’s vehicle
in violation of 75 Pa. C.S.A. §3310(a); failed to give information and render aid in
violation of75 Pa.C.S.A. §3744; failed to drive within a single lane in violation of
75 Pa_S.C.S_ § 3744; failed to exercise a degree of care which an ordinary and
prudent person would have done under the circumstances; failed to remain

attentive and to maintain a sharp lookout for the conditions of travel; operated his

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commercial motor vehicle without due regard for the rights_, safety, and position of
Plaintiff Michael Karp lawfully on the roadway; operated his vehicle at a speed
greater than that which was reasonable and prudent under the circumstances in
violation of 75 Pa_ C.S_A. §3361; drove recklessly and with willful and wanton
disregard for the safety ofpersons or property in violation of 75 Pa. C.S.A. §3736;
operated his vehicle so recklessly that he placed Plaintiff Linda Karp in danger of
death and serious bodily injury in violation of 18 Pa. C_S.A. §2705; operated his
vehicle in a careless manner in violation of 75 Pa. C.S.A. §3714; failed to obey the
rules of the road, the statutes of the Commonwealth of Pennsylvania; and the
ordinances of Marion Township, Pennsylvania while operating his vehicle on the
highways and roadways of the Commonwealth ofPennsylvania; sending, reading,
and/or writing a text-based communication while operating a motor vehicle; failed
to inspect the vehicle prior to operating the vehicle; failed to give warning of his
approach; failed to bring his vehicle to a stop within the assured clear distance
ahead in violation of 75 Pa.C.S.A. §3361; failed to slow down in light of the
conditions then and there existing in violation of 75 Pa.C.S.A. §3361; operated his
vehicle while being distracted and/or fatigued in violation of 49 C.F.R. §392.3;
failed to exercise extreme caution in the operation of his vehicle when hazardous
conditions adversely affected his visibility and/or traction in violation of49 C.F.R.

§392.14; failed to reduce his speed when hazardous conditions adversely affected

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his visibility and/or traction in violation of 49 C.F.R. §392.14; failed to discontinue
the use of his commercial motor vehicle when hazardous conditions adversely
affected his visibility and/or traction in violation of 49 C.F.R. §392.14; fell asleep
while driving; operated his vehicle in violation of the rules and regulations of the
Federal Motor Carrier Safety Regulations; failed to operate_, maintain, inspect and
repair his vehicle in accordance with the applicable Federal Motor Carrier Safety
Regulations 49 C.F.R. §390 et seq., which have been adopted in this
Commonwealth pursuant to 67 Pa. Code §229.14; failed to properly inspect his
vehicle in accordance with 49 C.F.R. §392.7; operated his vehicle in excess of the
applicable hours of service rules in violation of 49 C.F.R. §395.3; operated his
vehicle when he was so fatigued as to make it unsafe for him to operate the vehicle
in violation of 49 CFR §392.3; operated his vehicle in such a condition as to likely
cause an accident or a breakdown of the vehicle in violation of 49 C.F.R. §396.7;
failed to properly inspect his vehicle prior to driving to ensure it was in safe
operating condition in violation of 49 C.F.R. §396.13; operated his vehicle when
he knew or should have known that he was unfit to do so; and failed to record his
duty status properly in violation of49 CFR §395.8.

74. Furthermore, as a result of the aforementioned collision Defendant
Dana Jenkins charged with two (2) counts of simple assault in violation of 18

Pa.C.S. §2701(a)(3)_, disorderly conduct in violation of 18 Pa.C.S. §5503(a)(4), 18

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Pa.C.S. §2701(a)(3)_, two (2) counts of recklessly endangering another person in
violation of 18 Pa.C.S. §2705, accident involving damage to attended vehicle in
violation of75 Pa_ C.S_A. §3743, two (2) counts ofharassment in violation of 18
Pa.C.S.A. §2709, disregarding traffic lanes in violation of 75 Pa_ C.S_A.
§3309(a)(1), following too closely in violation of 75 Pa. C.S.A. §3310, careless
driving in violation of 75 Pa. C.S.A. §3714_, reckless driving in violation of 75 Pa.
C_S.A. §3736, and failure to stop and render information in violation of75 Pa_
C.S.A. §3744.

75. As a result ofaforementioned collision, Defendant Dana Jenkins pled
guilty to two (2) counts of simple assault in violation of 18 Pa.C.S. §2701(a)(3)
and two (2) counts of recklessly endangering another person in violation of 18
Pa.C.S. §2705.

76. All of these acts did constitute a reckless indifference to the risk of
injury to Plaintiff Michael Karp. As a result Plaintiff Linda Karp is seeking an
award of punitive damages against Defendant Dana Jenkins

WHEREFORE_, Plaintiff Linda Karp demands judgment against Defendant
Dana Jenkins in an amount in excess of $75_,000.00 plus interest, costs and such
other relief as this Court deems appropriate

COUNT TEN

Linda Karp v. Dana Jenkins
Negligent Infliction of Emotional Distress

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77. Paragraphs 1-76 above are incorporated by reference as if fully set
forth herein at length.

78. At the time of the aforementioned collision, Plaintiff Linda Karp was
an occupant of the 2008 Ford Super Duty in which her huband, Plaintiff Michael
Karp, was the operator.

79. Plaintiff Linda Karp witnessed the harm sustained by her husband,
Plaintiff Michael Karp, as fully set forth in this Complaint, as well as the
aforementioned negligence of Defendant Dana Jenkins.

80. As a result of the aforementioned collision and negligence of
Defendant Dana Jenkins, and observing her husband’s injuries, Plaintiff Linda
Karp has been caused to suffer severe fear, anxiety and emotional distress that has
manifested itself psychologically_, emotionally, and physically and will continue for
an indefinite period of time in the future.

81. Plaintiff Linda Karp has sustained the aforementioned fear, anxiety
and emotional distress as a direct and proximate result of the negligence and/or
carelessness of Defendant Dana Jenkins.

82. As a result of the aforementioned fear, anxiety and emotional distress_,
the Plaintiff Linda Karp has sustained, is sustaining, and will/may continue to

sustain a loss of the pleasures and enjoyinents of life.

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83. Based on Plaintiff Linda Karp’s relationship with her husband,
Plaintiff Michael Karp and his observations of Defendant Dana Jenkin’s
aforementioned acts of negligence and/or carelessness Defendant Dana Jenkins
could have reasonably foreseen that the Plaintiff would suffer great and severe
fear_, anxiety and emotional distress upon observing the injury of his wife due to his
acts of simple assault in violation of 18 Pa.C.S. §2701(a)(3) and recklessly
endangering another person in violation of 18 Pa.C.S. §2705 upon the Plaintiffs as
fully set forth in this Complaint.

WHEREFORE_, PlaintiffLinda Karp demands judgment against Defendant
Dana Jenkins in an amount in excess of $75,000.00 plus interest, costs and such
other relief as this Court deems appropriate

COUNT ELEVEN
Linda Karp v. CIS Express, LLC
Negligence

84. Paragraphs 1-83 above are incorporated by reference as if fully set
forth herein at length

85. The aforementioned collision was due to the negligent conduct,
careless conduct, and gross wanton_, and reckless conduct of Defendant CIS

Express LLC and/or its agents ostensible agents servants workmen, and/or

employees and in no way due to the negligent act or failure to act on the part of

Plaintiff Linda Karp.

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86. The negligent conduct, careless conduct_, and gross wanton and
reckless conduct of Defendant CIS Express_, LLC_, by and through the acts and or
omissions of its agents and/or employees including but not limited to Defendant

Dana Jenkins, consisted of the following:

a. Failure to keep a proper lookout;

b. Failure to properly observe the roadway;

c. Failure to brake his vehicle;

d. Failure to properly control his vehicle;

e. Failure to take proper and evasive action;

f. Failure to keep his eyes on the roadway;

g. Failure to maneuver his vehicle so as to avoid a collision;

h. Following too closely behind Plaintiff Michael Karp’s vehicle in
violation of75 Pa. C.S.A. §3310(a);

i. Failure to exercise a degree of care which an ordinary and prudent
person would have done under the circumstances

j. Failure to remain attentive and to maintain a sharp lookout for the
conditions of travel;

k. sending, reading, and/or writing a text-based communication while

operating a motor vehicle

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l. Operating his commercial motor vehicle without due regard for the
rights safety_, and position of Plaintiff Linda Karp lawfully on the roadway;
m. Operating his vehicle at a speed greater than that which was
reasonable and prudent under the circumstances in violation of 75 Pa. C.S_A.
§3361;

n. Driving recklessly and with willful and wanton disregard for the
safety of persons or property in violation of 75 Pa_ C.S.A. §3736;

o. Operating his vehicle so recklessly that he placed Plaintiff Michael
Karp in danger of death and serious bodily injury in violation of 18 Pa.
C.S.A. §2705;

p. Operating his vehicle in a careless manner in violation of 75 Pa_
C.S.A. §3714;

q. Failure to obey the rules of the road, the statutes of the
Commonwealth of Pennsylvania; and the ordinances of Marion Township,
Pennsylvania while operating his vehicle on the highways and roadways of

the Commonwealth of Pennsylvania;

r. Failure to inspect the vehicle prior to operating the vehicle;
s Failure to give warning of his approach;
t Failure to slow down in light of the conditions then and there existing

in violation of 75 Pa.C.S.A. §3361;

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u. Operating his vehicle while being distracted and/or fatigued in
violation of49 C.F.R. §392.3;

v. Falling asleep while driving;

w_ Operating his vehicle in violation of the rules and regulations of the
Federal Motor Carrier Safety Regulations;

x. Failure to operate_, maintain, inspect and repair his vehicle in
accordance with the applicable Federal Motor Carrier Safety

Regulations 49 C.F.R. §390 et seq., which have been adopted in this

Commonwealth pursuant to 67 Pa. Code §229.14;

y. Failure to properly inspect his vehicle in accordance with 49 C.F.R.
§392.7;
z. Operating his vehicle in excess of the applicable hours of service rules

in violation of49 C.F.R. §395.3;

aa, Operating his vehicle when he was so fatigued as to make it unsafe for
him to operate the vehicle in violation of 49 CFR §392.3;

bb. Operating his vehicle in such a condition as to likely cause an accident
or a breakdown of the vehicle in violation of 49 C.F.R. §396.7;

cc. Failing to properly inspect his vehicle prior to driving to ensure it was

in safe operating condition in violation of 49 C.F.R. §396.13;

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dd. Operating his vehicle when he knew or should have known that he

was unfit to do so;

ee Failure to give information and render aid in violation of 75 Pa.C.S.A.

§3744;

ff. Failure to drive within a single lane in violation of75 Pa.C.S.A.

§399(1);

gg. Failure to record his duty status properly in violation of49 CFR

§395.8; and

hh. Such other negligence, recklessness and/or willful and wanton

conduct as shall be revealed in discovery under the Pennsylvania Rules of

Civil Procedure.

87. The negligent conduct, careless conduct_, and gross wanton and
reckless conduct of Defendant CIS Express_, LLC, in its own right, consisted of the
following:

a. Negligently entrusting Dana Jenkins with its vehicle when it knew or

should have known that Dana Jenkins lacked sufficient skill_, judgment_, and

prudence in the operation of the vehicle;

b. Failing to adequately instruct Dana Jenkins in the safe operation of the

vehicle prior to entrusting him with it;

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c. Failing to prevent Dana Jenkins from operating the vehicle until he
had sufficient ability to operate the motor vehicle safely;

d_ Failing to adequately ascertain that Dana Jenkins lacked the ability
necessary to safely operate the vehicle under the circumstances

e. Failure to provide Dana Jenkins with the equipment necessary to
safely operate the vehicle;

f. Failure to maintain the brakes on the tractor-trailer;

g. Failure to adequately train and oversee their employees including
Defendant Dana Jenkins, in the inspection and operation of its tractor trailer;
h. Failure to properly qualify Defendant Dana Jenkins as required by 49
CFR § 391 et seq.;

i. Permitting Defendant Dana Jenkins to operate its vehicle when it
knew or should have known that he was too fatigued to do so safely in
violation of49 CFR § 392_3;

j. Permitting Defendant Dana Jenkins to operate its vehicle when it
knew or should have known that he was unfit to do so;

k. Permitting Defendant Dana Jenkins to operate its vehicle when it
knew or should have known he would drive while being distracted and/ or

fatigued;

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l. Permitting Defendant Dana Jenkins to operate its vehicle when it
knew or should have known that the requirements for Defendant Dana
Jenkins to earn income from operating its vehicle would cause Defendant
Dana Jenkins to violate the rules of the road and/or drive while distracted
and/or fatigued;

m. Scheduling a run and/or requiring Defendant Dana Jenkins to operate
its vehicle between points in such periods of time as would necessitate
Defendant Dana Jenkins to operate the vehicle at too great a speed in
violation of49 C.F.R. §392.6;

n Permitting Defendant Dana Jenkins to operate its vehicle when it
knew or should have known that he was operating the vehicle in excess of
the applicable hours of service in violation of49 CFR § 395 .3;

o. Failure to operate_, maintain, inspect and repair its vehicle in accord
with the applicable Federal Motor Carrier Safety Regulations rules and
regulations and the statutes and regulations of the Commonwealth of
Pennsylvania;

p. Failure to require Defendant Dana Jenkins to observe and abide by the

Federal Motor Carrier Safety Regulations in violation of 49 C.F.R. §390.11;

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q. Aiding, abetting_, encouraging and/or requiring Defendant Dana

Jenkins to violate the Federal Motor Carrier Safety Regulations in violation

of49 C.F.R. §390.13;

r. Operating its vehicle in violation of the rules and regulations of the

Federal Motor Carrier Safety Regulations;

s Failure to provide Dana Jenkins with proper training necessary to

drive the vehicle;

t. Failure to properly supervise Defendant Dana Jenkins in the operation

of its vehicle to ensure compliance with the Federal Motor Carrier Safety

Regulations; and

u. Such other negligence, recklessness and/or willful and wanton

conduct as shall be revealed in discovery under the Pennsylvania Rules of

Civil Procedure.

88. As a result of the above-stated acts and omissions Plaintiff Linda
Karp has suffered such harm as has been previously stated herein

WHEREFORE_, Plaintiff Linda Karp demands judgment against Defendant
CIS Express LLC in an amount in excess of $75_,000.00 plus interest, costs and
such other relief as this Court deems appropriate

COUNT TWELVE

Linda Karp v. CIS Express, LLC
Punitive Damages

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89. Paragraphs 1-88 above are incorporated by reference as if fully set
forth herein at length.

90. The conduct of Defendant CIS Express, LLC, by and through the acts
and or omissions of its agents servants workmen, and/or employees including but
not limited to Defendant Dana Jenkins was outrageous and/or done willfully,
wantonly and/or with reckless indifference to the rights of the public including
Plaintiff Linda Karp. Defendants CIS Express LLC and Dana Jenkins knew or
should have known that operating his vehicle when he was too fatigued to do so
safely and/or while being distracted_, would result in serious injury to others driving
on the roadway Defendants CIS Express LLC and Dana Jenkins knew or should
have known that falling asleep while driving, would result in serious injury to
others Furthermore_, Defendants CIS Express LLC and Dana Jenkins knew or
should have known that failing to pay attention to the roadway and/or operating his
vehicle too fast for the conditions then present, and/or when he was in violation of
the applicable hours of service regulations and/or while he was in violation of the
federal motor carrier safety regulations would result in serious injury to others
driving on the roadway.

91. Despite such knowledge Defendant CIS Express, LLC, by and
through the acts and/or omissions of its agents servants workmen, and/or

employees including but not limited to Dana Jenkins nevertheless failed to keep a

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proper lookout; failed to properly observe the roadway; failed to brake his vehicle;
failed to properly control his vehicle; failed to take proper and evasive action;
failed to keep his eyes on the roadway; failed to maneuver his vehicle so as to
avoid a collision; followed too closely behind Plaintiff Linda Karp’s vehicle in
violation of75 Pa. C.S.A. §3310(a); failed to give information and render aid in
violation ofPa.C.S.A. §3744; failed to drive within a single lane in violation of 75
Pa.C.S.A. §3309(a); failed to exercise a degree of care which an ordinary and
prudent person would have done under the circumstances failed to remain
attentive and to maintain a sharp lookout for the conditions of travel; sending_,
reading, and/or writing a text-based communication; operated his commercial
motor vehicle without due regard for the rights safety, and position of Plaintiff
Linda Karp lawfully on the roadway; operated his vehicle at a speed greater than
that which was reasonable and prudent under the circumstances in violation of 75
Pa. C_S.A. §3361; drove recklessly and with willful and wanton disregard for the
safety of persons or property in violation of 75 Pa. C_S.A. §3736; operated his
vehicle so recklessly that he placed Plaintiff Linda Karp in danger of death and
serious bodily injury in violation of 18 Pa. C.S.A. §2705; operated his vehicle in a
careless manner in violation of 75 Pa. C_S.A. §3714; failed to obey the rules of the
road, the statutes of the Commonwealth of Pennsylvania; and the ordinances of

Marion Township, Pennsylvania while operating his vehicle on the highways and

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roadways of the Commonwealth ofPennsylvania; failed to inspect the vehicle prior
to operating the vehicle; failed to give warning of his approach; failed to bring his
vehicle to a stop within the assured clear distance ahead in violation of 75
Pa.C.S.A. §3361; failed to slow down in light of the conditions then and there
existing in violation of 75 Pa.C.S.A. §3361; operated his vehicle while being
distracted and/or fatigued in violation of49 C.F.R. §392.3; failed to exercise
extreme caution in the operation of his vehicle when hazardous conditions
adversely affected his visibility and/or traction in violation of 49 C.F.R. §392.14;
failed to reduce his speed when hazardous conditions adversely affected his
visibility and/or traction in violation of 49 C.F.R. §392.14; failed to discontinue the
use of his commercial motor vehicle when hazardous conditions adversely affected
his visibility and/or traction in violation of 49 C.F.R. §392.14; fell asleep while
driving; operated his vehicle in violation of the rules and regulations of the Federal
Motor Carrier Safety Regulations failed to operate maintain, inspect and repair
his vehicle in accordance with the applicable Federal Motor Cariier Safety
Regulations 49 C.F.R. §390 et seq._, which have been adopted in this
Commonwealth pursuant to 67 Pa. Code §229.14; failed to properly inspect his
vehicle in accordance with 49 C.F.R. §392.7; operated his vehicle in excess of the
applicable hours of service rules in violation of 49 C.F.R. §395 .3; operated his

vehicle when he was so fatigued as to make it unsafe for him to operate the vehicle

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in violation of 49 CFR §392.3; operated his vehicle in such a condition as to likely
cause an accident or a breakdown of the vehicle in violation of 49 C.F.R. §396.7;
failed to properly inspect his vehicle prior to driving to ensure it was in safe
operating condition in violation of 49 C.F.R. §396.13; operated his vehicle when
he knew or should have known that he was unfit to do so; and failed to record his
duty status properly in violation of49 CFR §395.8.

92. The conduct of Defendant CIS Express, LLC was outrageous and/or
done willfully_, wantonly and/or with reckless indifference to the rights of the
public including Plaintiff Linda Karp_, in its own right. Defendant CIS Express
LLC knew of or should have known that Defendant Dana Jenkins lacked the ability
to safely operate a motor vehicle and did not have sufficient skill, judgment, and
prudence in operating a motor vehicle Defendant CIS Express LLC knew or
should have known that the manner in which Defendant CIS Express LLC
conducted its business and compensated their agents servants workmen, and/or
employees including but not limited to Defendant Dana Jenkins, would cause its
employees including Defendant Dana Jenkins, to violate the rules of the road
and/or drive while distracted and/or fatigued. Defendant CIS Express LLC knew
or should have known that allowing their employees to violate the rules of the road
and/or drive while distracted and/or fatigued would result in serious injury to the

traveling public_, including PlaintiffLinda Karp. Defendant CIS Express LLC

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knew or should have known that permitting Defendant Dana Jenkins to operate its
tractor-trailer when he was not qualified to do so, when he could not do so safely,
when he would be operating the truck when he was too fatigued to do so and while
he was in violation of the applicable hours of service regulations would result in
serious injury to others driving on the roadway. Defendant CIS Express, LLC
knew or should have know that failing to hire and retain only competent drivers
would result in serious injury to others driving on the roadway Defendant CIS
Express LLC knew or should have known that failing to properly train and
supervise its agents servants workmen_, and/or employees including but not
limited to Defendant Dana Jenkins would result in serious injury to others driving
on the roadway Moreover, Defendant CIS Express LLC knew or should have
known that failing to inspect_, maintain_, repair and operate its vehicle in compliance
with all applicable standards and regulations including but not limited to the
Federal Motor Carrier Safety regulations would result in serious injury to others
driving on the roadway

93. Despite such knowledge Defendant CIS Express, LLC nevertheless
negligently entrusted Dana Jenkins with its vehicle when it knew or should have
known that Dana Jenkins lacked sufficient skill, judgment, and prudence in the
operation of the vehicle; failed to adequately instruct Dana Jenkins in the safe

operation of the vehicle prior to entrusting him with it; failed to prevent Dana

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Jenkins from operating the vehicle until he had sufficient ability to operate the
motor vehicle safely; failed to adequately ascertain that Dana Jenkins lacked the
ability necessary to safely operate the vehicle under the circumstances failed to
provide Dana Jenkins with the equipment necessary to safely operate the vehicle;
failed to maintain the brakes on the tractor-trailer; failed to adequately train and
oversee their employees including Defendant Dana Jenkins in the inspection and
operation of its tractor trailer; failed to properly qualify Defendant Dana Jenkins as
required by 49 CFR § 391 et seq.; permitted Defendant Dan Jenkins to operate its
vehicle when it knew or should have known that he was too fatigued to do so
safely in violation of49 CFR § 392.3; permitted Defendant Dana Jenkins to
operate its vehicle when it knew or should have known that he was unfit to do so;
permitted Defendant Dana Jenkins to operate its vehicle when it knew or should
have known he would drive while being distracted and/or fatigued; permitted
Defendant Dana Jenkins to operate its vehicle when it knew or should have known
that the requirements for Defendant Jenkins to earn income from operating its
vehicle would cause Defendant Jenkins to violate the rules of the road and/or drive
while distracted and/or fatigued; scheduled a run and/or required Defendant Dan
Jenkins to operate its vehicle between points in such periods of time as would
necessitate Defendant Dan Jenkins to operate the vehicle at too great a speed in

violation of49 C.F.R. §392.6; permitted Defendant Dana Jenkins to operate its

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vehicle when it knew or should have known that he was operating the vehicle in
excess of the applicable hours of service in violation of 49 CFR § 395.3; failed to
operate maintain, inspect and repair its vehicle in accord with the applicable
Federal Motor Carrier Safety Regulations rules and regulations and the statutes
and regulations of the Commonwealth of Pennsylvania; failed to require Defendant
Dana Jenkins to observe and abide by the Federal Motor Carrier Safety
Regulations in violation of 49 C.F.R. §390.11; aided, abetted, encouraged and/or
required Defendant Dana Jenkins to violate the Federal Motor Carrier Safety
Regulations in violation of 49 C.F.R. §390.13; operated its vehicle in violation of
the rules and regulations of the Federal Motor Carrier Safety Regulations failed to
provide Dana Jenkins with proper training necessary to drive the vehicle; and
failed to properly supervise Defendant Dana Jenkins in the operation of its vehicle
to ensure compliance with the Federal Motor Carrier Safety Regulations

94. All of these acts did constitute a reckless indifference to the risk of
injury to Plaintiff Linda Karp. As a result, Plaintiff is seeking an award of punitive
damages against Defendant CIS Express LLC.

WHEREFORE_, Plaintiff Linda Karp demands judgment against Defendant
CIS Express LLC in an amount in excess of $75,000.00 plus interest, costs and
such other relief as this Court deems appropriate

COUNT THIRTEEN
Michael Karp v. Dana Jenkins

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Loss of Consortium

95. Paragraphs 1-94 above are incorporated herein by reference as if fully
set forth here at length

96. At all times here pertinent, Plaintiff Michael Karp was and is the
husband of Plaintiff Linda Karp.

97. Solely because of the negligent conduct_, careless conduct, and gross
wanton and reckless conduct of Defendant Dana Jenkins in causing the injuries to
Plaintiff Linda Karp_, Plaintiff Michael Karp as husband of Plaintiff Linda Karp_,
has been_, yet is and will forever in the future be obliged to expend various sums of
money for medicine and medical attention in and about endeavoring to treat and
cure his wife of her injuries

98. By reason of the aforesaid collision, PlaintiffMichael Karp has been,
yet is and will/may be in the future deprived of the assistance and society of his
wife all of which has been and will be to his great financial loss and detriment

WHEREFORE, PlaintiffMichael Karp demands judgment against
Defendant Dana Jenkins in an amount in excess of $75_,000.00 plus interest, costs

and such other reliefas this Court deems appropriate

COUNT FOURTEEN
Michael Karp v. CIS Express LLC
Loss of Consortium

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99. Paragraphs 1-98 above are incorporated herein by reference as if fully
set forth here at length.

100. At all times here pertinent, Plaintiff Michael Karp was and is the
husband of Plaintiff Linda Karp.

101. Solely because of the negligent conduct_, careless conduct, and gross
wanton and reckless conduct of Defendant Dana Jenkins in causing the injuries to
Plaintiff Linda Karp, Plaintiff Michael Karp as husband of Plaintiff Linda Karp,
has been_, yet is and will forever in the future be obliged to expend various sums of
money for medicine and medical attention in and about endeavoring to treat and
cure his wife of her injuries

102. By reason of the aforesaid collision, PlaintiffMichael Karp has been,
yet is and will/may be in the future deprived of the assistance and society of his
wife_, all of which has been and will be to his great financial loss and detriment

WHEREFORE, Plaintiff Michael Karp demands judgment against
Defendant Dana Jenkins in an amount in excess of $75,000.00 plus interest, costs
and such other reliefas this Court deems appropriate

MUNLEY LAW, PC

By: /s/ Katie Nealon
Katie Nealon
I.D. No. 317965

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/s/ Ciara DeNaples
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